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             EXHIBIT 1
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Rules of Arbitration
in force as from 1 January 1998


Cost scales effective as of 1 May 2010




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Of the various languages in which the ICC Rules of Arbitration may be published, the English and French
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                                STANDARD ICC ARBITRATION CLAUSE
It is recommended that all parties wishing to make reference to ICC arbitration in their contracts use the
following standard clause.
Parties are reminded that it may be desirable for them to stipulate in the arbitration clause itself the law
governing the contract, the number of arbitrators and the place and language of the arbitration. The
parties’ free choice of the law governing the contract and of the place and language of the arbitration is not
limited by the ICC Rules of Arbitration.
Attention is called to the fact that the laws of certain countries require that parties to contracts expressly
accept arbitration clauses, sometimes in a precise and particular manner.

“All disputes arising out of or in connection with the present contract shall be finally settled under the
Rules of Arbitration of the International Chamber of Commerce by one or more arbitrators appointed in
accordance with the said Rules.”


For translations of the above clause, please consult the web site of the ICC International Court of
Arbitration:
                                      www.iccarbitration.org




                             STANDARD CLAUSE FOR AN ICC
                 PRE-ARBITRAL REFEREE PROCEDURE AND ICC ARBITRATION
Parties wishing to have recourse to both the ICC pre-arbitral referee procedure and ICC arbitration should
make specific reference to both procedures in their contracts. The following standard clause is
recommended:
“Any party to this contract shall have the right to have recourse to and shall be bound by the pre-arbitral
referee procedure of the International Chamber of Commerce in accordance with its Rules for a Pre-
Arbitral Referee Procedure.
All disputes arising out of or in connection with the present contract shall be finally settled under the Rules
of Arbitration of the International Chamber of Commerce by one or more arbitrators appointed in
accordance with the said Rules of Arbitration.”


For translations of the above clause, please consult the web site of the ICC International Court of
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                                       RULES OF ARBITRATION




                                     INTRODUCTORY PROVISIONS

Article 1
International Court of Arbitration
1
The International Court of Arbitration (the “Court”) of the International Chamber of Commerce (the
“ICC”) is the arbitration body attached to the ICC. The statutes of the Court are set forth in Appendix I.
Members of the Court are appointed by the World Council of the ICC. The function of the Court is to
provide for the settlement by arbitration of business disputes of an international character in accordance
with the Rules of Arbitration of the International Chamber of Commerce (the “Rules”). If so empowered by
an arbitration agreement, the Court shall also provide for the settlement by arbitration in accordance with
these Rules of business disputes not of an international character.
2
The Court does not itself settle disputes. It has the function of ensuring the application of these Rules. It
draws up its own Internal Rules (Appendix II).
3
The Chairman of the Court or, in the Chairman’s absence or otherwise at his request, one of its Vice-
Chairmen shall have the power to take urgent decisions on behalf of the Court, provided that any such
decision is reported to the Court at its next session.
4
As provided for in its Internal Rules, the Court may delegate to one or more committees composed of its
members the power to take certain decisions, provided that any such decision is reported to the Court at
its next session.
5
The Secretariat of the Court (the “Secretariat”) under the direction of its Secretary General (the “Secretary
General”) shall have its seat at the headquarters of the ICC.

Article 2
Definitions
In these Rules:
(i) “Arbitral Tribunal” includes one or more arbitrators.
(ii) “Claimant” includes one or more claimants and “Respondent” includes one or more respondents.
(iii) “Award” includes, inter alia, an interim, partial or final Award.

Article 3
Written Notifications or Communications;
Time Limits
1
All pleadings and other written communications submitted by any party, as well as all documents annexed
thereto, shall be supplied in a number of copies sufficient to provide one copy for each party, plus one for
each arbitrator, and one for the Secretariat. A copy of any communication from the Arbitral Tribunal to the
parties shall be sent to the Secretariat.
2
All notifications or communications from the Secretariat and the Arbitral Tribunal shall be made to the last
address of the party or its representative for whom the same are intended, as notified either by the party in
question or by the other party. Such notification or communication may be made by delivery against



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receipt, registered post, courier, facsimile transmission, telex, telegram or any other means of
telecommunication that provides a record of the sending thereof.
3
A notification or communication shall be deemed to have been made on the day it was received by the
party itself or by its representative, or would have been received if made in accordance with the preceding
paragraph.
4
Periods of time specified in or fixed under the present Rules shall start to run on the day following the date
a notification or communication is deemed to have been made in accordance with the preceding
paragraph. When the day next following such date is an official holiday, or a non-business day in the
country where the notification or communication is deemed to have been made, the period of time shall
commence on the first following business day. Official holidays and non-business days are included in the
calculation of the period of time. If the last day of the relevant period of time granted is an official holiday
or a non-business day in the country where the notification or communication is deemed to have been
made, the period of time shall expire at the end of the first following business day.



                                   COMMENCING THE ARBITRATION

Article 4
Request for Arbitration

1
A party wishing to have recourse to arbitration under these Rules shall submit its Request for Arbitration
(the “Request”) to the Secretariat, which shall notify the Claimant and Respondent of the receipt of the
Request and the date of such receipt.

2
The date on which the Request is received by the Secretariat shall, for all purposes, be deemed to be the
date of the commencement of the arbitral proceedings.

3
The Request shall, inter alia, contain the following information:
a) the name in full, description and address of each of the parties;
b) a description of the nature and circumstances of the dispute giving rise to the claim(s);
c) a statement of the relief sought, including, to the extent possible, an indication of any amount(s)
   claimed;
d) the relevant agreements and, in particular, the arbitration agreement;
e) all relevant particulars concerning the number of arbitrators and their choice in accordance with the
   provisions of Articles 8, 9 and 10, and any nomination of an arbitrator required thereby; and
f)   any comments as to the place of arbitration, the applicable rules of law and the language of the
     arbitration.
4
Together with the Request, the Claimant shall submit the number of copies thereof required by Article 3(1)
and shall make the advance payment on administrative expenses required by Appendix III (“Arbitration
Costs and Fees”) in force on the date the Request is submitted. In the event that the Claimant fails to
comply with either of these requirements, the Secretariat may fix a time limit within which the Claimant
must comply, failing which the file shall be closed without prejudice to the right of the Claimant to submit
the same claims at a later date in another Request.




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5
The Secretariat shall send a copy of the Request and the documents annexed thereto to the Respondent
for its Answer to the Request once the Secretariat has sufficient copies of the Request and the required
advance payment.

6
When a party submits a Request in connection with a legal relationship in respect of which arbitration
proceedings between the same parties are already pending under these Rules, the Court may, at the
request of a party, decide to include the claims contained in the Request in the pending proceedings
provided that the Terms of Reference have not been signed or approved by the Court. Once the Terms of
Reference have been signed or approved by the Court, claims may only be included in the pending
proceedings subject to the provisions of Article 19.

Article 5
Answer to the Request; Counterclaims
1
Within 30 days from the receipt of the Request from the Secretariat, the Respondent shall file an Answer
(the “Answer”) which shall, inter alia, contain the following information:
a) its name in full, description and address;
b) its comments as to the nature and circumstances of the dispute giving rise to the claim(s);
c) its response to the relief sought;
d) any comments concerning the number of arbitrators and their choice in light of the Claimant’s
    proposals and in accordance with the provisions of Articles 8, 9 and 10, and any nomination of an
    arbitrator required thereby; and
e) any comments as to the place of arbitration, the applicable rules of law and the language of the
    arbitration.
2
The Secretariat may grant the Respondent an extension of the time for filing the Answer, provided the
application for such an extension contains the Respondent’s comments concerning the number of
arbitrators and their choice and, where required by Articles 8, 9 and 10, the nomination of an arbitrator. If
the Respondent fails to do so, the Court shall proceed in accordance with these Rules.
3
The Answer shall be supplied to the Secretariat in the number of copies specified by Article 3(1).
4
A copy of the Answer and the documents annexed thereto shall be communicated by the Secretariat to the
Claimant.
5
Any counterclaim(s) made by the Respondent shall be filed with its Answer and shall provide:
a) a description of the nature and circumstances of the dispute giving rise to the counterclaim(s); and
b) a statement of the relief sought, including, to the extent possible, an indication of any amount(s)
   counterclaimed.
6
The Claimant shall file a reply to any counterclaim within 30 days from the date of receipt of the
counterclaim(s) communicated by the Secretariat. The Secretariat may grant the Claimant an extension of
time for filing the reply.




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Article 6
Effect of the Arbitration Agreement

1
Where the parties have agreed to submit to arbitration under the Rules, they shall be deemed to have
submitted ipso facto to the Rules in effect on the date of commencement of the arbitration proceedings,
unless they have agreed to submit to the Rules in effect on the date of their arbitration agreement.

2
If the Respondent does not file an Answer, as provided by Article 5, or if any party raises one or more pleas
concerning the existence, validity or scope of the arbitration agreement, the Court may decide, without
prejudice to the admissibility or merits of the plea or pleas, that the arbitration shall proceed if it is prima
facie satisfied that an arbitration agreement under the Rules may exist. In such a case, any decision as to
the jurisdiction of the Arbitral Tribunal shall be taken by the Arbitral Tribunal itself. If the Court is not so
satisfied, the parties shall be notified that the arbitration cannot proceed. In such a case, any party retains
the right to ask any court having jurisdiction whether or not there is a binding arbitration agreement.
3
If any of the parties refuses or fails to take part in the arbitration or any stage thereof, the arbitration shall
proceed notwithstanding such refusal or failure.
4
Unless otherwise agreed, the Arbitral Tribunal shall not cease to have jurisdiction by reason of any claim
that the contract is null and void or allegation that it is non-existent, provided that the Arbitral Tribunal
upholds the validity of the arbitration agreement. The Arbitral Tribunal shall continue to have jurisdiction
to determine the respective rights of the parties and to adjudicate their claims and pleas even though the
contract itself may be non-existent or null and void.




                                         THE ARBITRAL TRIBUNAL

Article 7
General Provisions

1
Every arbitrator must be and remain independent of the parties involved in the arbitration.
2
Before appointment or confirmation, a prospective arbitrator shall sign a statement of independence and
disclose in writing to the Secretariat any facts or circumstances which might be of such a nature as to call
into question the arbitrator’s independence in the eyes of the parties. The Secretariat shall provide such
information to the parties in writing and fix a time limit for any comments from them.
3
An arbitrator shall immediately disclose in writing to the Secretariat and to the parties any facts or
circumstances of a similar nature which may arise during the arbitration.
4
The decisions of the Court as to the appointment, confirmation, challenge or replacement of an arbitrator
shall be final and the reasons for such decisions shall not be communicated.
5
By accepting to serve, every arbitrator undertakes to carry out his responsibilities in accordance with these
Rules.
6
Insofar as the parties have not provided otherwise, the Arbitral Tribunal shall be constituted in accordance
with the provisions of Articles 8, 9 and 10.



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Article 8
Number of Arbitrators

1
The disputes shall be decided by a sole arbitrator or by three arbitrators.
2
Where the parties have not agreed upon the number of arbitrators, the Court shall appoint a sole
arbitrator, save where it appears to the Court that the dispute is such as to warrant the appointment of
three arbitrators. In such case, the Claimant shall nominate an arbitrator within a period of 15 days from
the receipt of the notification of the decision of the Court, and the Respondent shall nominate an
arbitrator within a period of 15 days from the receipt of the notification of the nomination made by the
Claimant.
3
Where the parties have agreed that the dispute shall be settled by a sole arbitrator, they may, by
agreement, nominate the sole arbitrator for confirmation. If the parties fail to nominate a sole arbitrator
within 30 days from the date when the Claimant’s Request for Arbitration has been received by the other
party, or within such additional time as may be allowed by the Secretariat, the sole arbitrator shall be
appointed by the Court.
4
Where the dispute is to be referred to three arbitrators, each party shall nominate in the Request and the
Answer, respectively, one arbitrator for confirmation. If a party fails to nominate an arbitrator, the
appointment shall be made by the Court. The third arbitrator, who will act as chairman of the Arbitral
Tribunal, shall be appointed by the Court, unless the parties have agreed upon another procedure for such
appointment, in which case the nomination will be subject to confirmation pursuant to Article 9. Should
such procedure not result in a nomination within the time limit fixed by the parties or the Court, the third
arbitrator shall be appointed by the Court.


Article 9
Appointment and Confirmation of the Arbitrators

1
In confirming or appointing arbitrators, the Court shall consider the prospective arbitrator’s nationality,
residence and other relationships with the countries of which the parties or the other arbitrators are
nationals and the prospective arbitrator’s availability and ability to conduct the arbitration in accordance
with these Rules. The same shall apply where the Secretary General confirms arbitrators pursuant to Article
9(2).

2
The Secretary General may confirm as co-arbitrators, sole arbitrators and chairmen of Arbitral Tribunals
persons nominated by the parties or pursuant to their particular agreements, provided they have filed a
statement of independence without qualification or a qualified statement of independence has not given
rise to objections. Such confirmation shall be reported to the Court at its next session. If the Secretary
General considers that a co-arbitrator, sole arbitrator or chairman of an Arbitral Tribunal should not be
confirmed, the matter shall be submitted to the Court.

3
Where the Court is to appoint a sole arbitrator or the chairman of an Arbitral Tribunal, it shall make the
appointment upon a proposal of a National Committee of the ICC that it considers to be appropriate. If the
Court does not accept the proposal made, or if the National Committee fails to make the proposal
requested within the time limit fixed by the Court, the Court may repeat its request or may request a
proposal from another National Committee that it considers to be appropriate.

4
Where the Court considers that the circumstances so demand, it may choose the sole arbitrator or the
chairman of the Arbitral Tribunal from a country where there is no National Committee, provided that
neither of the parties objects within the time limit fixed by the Court.



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5
The sole arbitrator or the chairman of the Arbitral Tribunal shall be of a nationality other than those of the
parties. However, in suitable circumstances and provided that neither of the parties objects within the time
limit fixed by the Court, the sole arbitrator or the chairman of the Arbitral Tribunal may be chosen from a
country of which any of the parties is a national.

6
Where the Court is to appoint an arbitrator on behalf of a party which has failed to nominate one, it shall
make the appointment upon a proposal of the National Committee of the country of which that party is a
national. If the Court does not accept the proposal made, or if the National Committee fails to make the
proposal requested within the time limit fixed by the Court, or if the country of which the said party is a
national has no National Committee, the Court shall be at liberty to choose any person whom it regards as
suitable. The Secretariat shall inform the National Committee, if one exists, of the country of which such
person is a national.

Article 10
Multiple Parties

1
Where there are multiple parties, whether as Claimant or as Respondent, and where the dispute is to be
referred to three arbitrators, the multiple Claimants, jointly, and the multiple Respondents, jointly, shall
nominate an arbitrator for confirmation pursuant to Article 9.
2
In the absence of such a joint nomination and where all parties are unable to agree to a method for the
constitution of the Arbitral Tribunal, the Court may appoint each member of the Arbitral Tribunal and shall
designate one of them to act as chairman. In such case, the Court shall be at liberty to choose any person it
regards as suitable to act as arbitrator, applying Article 9 when it considers this appropriate.

Article 11
Challenge of Arbitrators
1
A challenge of an arbitrator, whether for an alleged lack of independence or otherwise, shall be made by
the submission to the Secretariat of a written statement specifying the facts and circumstances on which
the challenge is based.
2
For a challenge to be admissible, it must be sent by a party either within 30 days from receipt by that party
of the notification of the appointment or confirmation of the arbitrator, or within 30 days from the date
when the party making the challenge was informed of the facts and circumstances on which the challenge
is based if such date is subsequent to the receipt of such notification.
3
The Court shall decide on the admissibility and, at the same time, if necessary, on the merits of a challenge
after the Secretariat has afforded an opportunity for the arbitrator concerned, the other party or parties
and any other members of the Arbitral Tribunal to comment in writing within a suitable period of time.
Such comments shall be communicated to the parties and to the arbitrators.

Article 12
Replacement of Arbitrators
1
An arbitrator shall be replaced upon his death, upon the acceptance by the Court of the arbitrator’s
resignation, upon acceptance by the Court of a challenge, or upon the request of all the parties.

2
An arbitrator shall also be replaced on the Court’s own initiative when it decides that he is prevented de
jure or de facto from fulfilling his functions, or that he is not fulfilling his functions in accordance with the
Rules or within the prescribed time limits.



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3
When, on the basis of information that has come to its attention, the Court considers applying Article
12(2), it shall decide on the matter after the arbitrator concerned, the parties and any other members of
the Arbitral Tribunal have had an opportunity to comment in writing within a suitable period of time. Such
comments shall be communicated to the parties and to the arbitrators.

4
When an arbitrator is to be replaced, the Court has discretion to decide whether or not to follow the
original nominating process. Once reconstituted, and after having invited the parties to comment, the
Arbitral Tribunal shall determine if and to what extent prior proceedings shall be repeated before the
reconstituted Arbitral Tribunal.
5
Subsequent to the closing of the proceedings, instead of replacing an arbitrator who has died or been
removed by the Court pursuant to Articles 12(1) and 12(2), the Court may decide, when it considers it
appropriate, that the remaining arbitrators shall continue the arbitration. In making such determination,
the Court shall take into account the views of the remaining arbitrators and of the parties and such other
matters that it considers appropriate in the circumstances.




                                     THE ARBITRAL PROCEEDINGS



Article 13
Transmission of the File to the Arbitral Tribunal
The Secretariat shall transmit the file to the Arbitral Tribunal as soon as it has been constituted, provided
the advance on costs requested by the Secretariat at this stage has been paid.


Article 14
Place of the Arbitration
1
The place of the arbitration shall be fixed by the Court unless agreed upon by the parties.
2
The Arbitral Tribunal may, after consultation with the parties, conduct hearings and meetings at any
location it considers appropriate unless otherwise agreed by the parties.
3
The Arbitral Tribunal may deliberate at any location it considers appropriate.

Article 15
Rules Governing the Proceedings
1
The proceedings before the Arbitral Tribunal shall be governed by these Rules and, where these Rules are
silent, by any rules which the parties or, failing them, the Arbitral Tribunal may settle on, whether or not
reference is thereby made to the rules of procedure of a national law to be applied to the arbitration.
2
In all cases, the Arbitral Tribunal shall act fairly and impartially and ensure that each party has a reasonable
opportunity to present its case.




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Article 16
Language of the Arbitration

In the absence of an agreement by the parties, the Arbitral Tribunal shall determine the language or
languages of the arbitration, due regard being given to all relevant circumstances, including the language of
the contract.

Article 17
Applicable Rules of Law

1
The parties shall be free to agree upon the rules of law to be applied by the Arbitral Tribunal to the merits
of the dispute. In the absence of any such agreement, the Arbitral Tribunal shall apply the rules of law
which it determines to be appropriate.
2
In all cases the Arbitral Tribunal shall take account of the provisions of the contract and the relevant trade
usages.
3
The Arbitral Tribunal shall assume the powers of an amiable compositeur or decide ex aequo et bono only
if the parties have agreed to give it such powers.

Article 18
Terms of Reference; Procedural Timetable

1
As soon as it has received the file from the Secretariat, the Arbitral Tribunal shall draw up, on the basis of
documents or in the presence of the parties and in the light of their most recent submissions, a document
defining its Terms of Reference. This document shall include the following particulars:
a) the full names and descriptions of the parties;
b) the addresses of the parties to which notifications and communications arising in the course of the
     arbitration may be made;
c) a summary of the parties’ respective claims and of the relief sought by each party, with an indication
     to the extent possible of the amounts claimed or counterclaimed;
d) unless the Arbitral Tribunal considers it inappropriate, a list of issues to be determined;
e) the full names, descriptions and addresses of the arbitrators;
f) the place of the arbitration; and
g) particulars of the applicable procedural rules and, if such is the case, reference to the power conferred
     upon the Arbitral Tribunal to act as amiable compositeur or to decide ex aequo et bono.
2
The Terms of Reference shall be signed by the parties and the Arbitral Tribunal. Within two months of the
date on which the file has been transmitted to it, the Arbitral Tribunal shall transmit to the Court the Terms
of Reference signed by it and by the parties. The Court may extend this time limit pursuant to a reasoned
request from the Arbitral Tribunal or on its own initiative if it decides it is necessary to do so.

3
If any of the parties refuses to take part in the drawing up of the Terms of Reference or to sign the same,
they shall be submitted to the Court for approval. When the Terms of Reference have been signed in
accordance with Article 18(2) or approved by the Court, the arbitration shall proceed.
4
When drawing up the Terms of Reference, or as soon as possible thereafter, the Arbitral Tribunal, after
having consulted the parties, shall establish in a separate document a provisional timetable that it intends
to follow for the conduct of the arbitration and shall communicate it to the Court and the parties. Any
subsequent modifications of the provisional timetable shall be communicated to the Court and the parties.




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Article 19
New Claims

After the Terms of Reference have been signed or approved by the Court, no party shall make new claims
or counterclaims which fall outside the limits of the Terms of Reference unless it has been authorized to
do so by the Arbitral Tribunal, which shall consider the nature of such new claims or counterclaims, the
stage of the arbitration and other relevant circumstances.

Article 20
Establishing the Facts of the Case
1
The Arbitral Tribunal shall proceed within as short a time as possible to establish the facts of the case by all
appropriate means.
2
After studying the written submissions of the parties and all documents relied upon, the Arbitral Tribunal
shall hear the parties together in person if any of them so requests or, failing such a request, it may of its
own motion decide to hear them.
3
The Arbitral Tribunal may decide to hear witnesses, experts appointed by the parties or any other person,
in the presence of the parties, or in their absence provided they have been duly summoned.
4
The Arbitral Tribunal, after having consulted the parties, may appoint one or more experts, define their
terms of reference and receive their reports. At the request of a party, the parties shall be given the
opportunity to question at a hearing any such expert appointed by the Tribunal.
5
At any time during the proceedings, the Arbitral Tribunal may summon any party to provide additional
evidence.
6
The Arbitral Tribunal may decide the case solely on the documents submitted by the parties unless any of
the parties requests a hearing.
7
The Arbitral Tribunal may take measures for protecting trade secrets and confidential information.


Article 21
Hearings

1
When a hearing is to be held, the Arbitral Tribunal, giving reasonable notice, shall summon the parties to
appear before it on the day and at the place fixed by it.
2
If any of the parties, although duly summoned, fails to appear without valid excuse, the Arbitral Tribunal
shall have the power to proceed with the hearing.

3
The Arbitral Tribunal shall be in full charge of the hearings, at which all the parties shall be entitled to be
present. Save with the approval of the Arbitral Tribunal and the parties, persons not involved in the
proceedings shall not be admitted.
4
The parties may appear in person or through duly authorized representatives. In addition, they may be
assisted by advisers.




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Article 22
Closing of the Proceedings

1
When it is satisfied that the parties have had a reasonable opportunity to present their cases, the Arbitral
Tribunal shall declare the proceedings closed. Thereafter, no further submission or argument may be
made, or evidence produced, unless requested or authorized by the Arbitral Tribunal.
2
When the Arbitral Tribunal has declared the proceedings closed, it shall indicate to the Secretariat an
approximate date by which the draft Award will be submitted to the Court for approval pursuant to Article
27. Any postponement of that date shall be communicated to the Secretariat by the Arbitral Tribunal.

Article 23
Conservatory and Interim Measures

1
Unless the parties have otherwise agreed, as soon as the file has been transmitted to it, the Arbitral
Tribunal may, at the request of a party, order any interim or conservatory measure it deems appropriate.
The Arbitral Tribunal may make the granting of any such measure subject to appropriate security being
furnished by the requesting party. Any such measure shall take the form of an order, giving reasons, or of
an Award, as the Arbitral Tribunal considers appropriate.
2
Before the file is transmitted to the Arbitral Tribunal, and in appropriate circumstances even thereafter, the
parties may apply to any competent judicial authority for interim or conservatory measures. The
application of a party to a judicial authority for such measures or for the implementation of any such
measures ordered by an Arbitral Tribunal shall not be deemed to be an infringement or a waiver of the
arbitration agreement and shall not affect the relevant powers reserved to the Arbitral Tribunal. Any such
application and any measures taken by the judicial authority must be notified without delay to the
Secretariat. The Secretariat shall inform the Arbitral Tribunal thereof.



                                                 AWARDS


Article 24
Time Limit for the Award

1
The time limit within which the Arbitral Tribunal must render its final Award is six months. Such time limit
shall start to run from the date of the last signature by the Arbitral Tribunal or by the parties of the Terms
of Reference or, in the case of application of Article 18(3), the date of the notification to the Arbitral
Tribunal by the Secretariat of the approval of the Terms of Reference by the Court.
2
The Court may extend this time limit pursuant to a reasoned request from the Arbitral Tribunal or on its
own initiative if it decides it is necessary to do so.


Article 25
Making of the Award

1
When the Arbitral Tribunal is composed of more than one arbitrator, an Award is given by a majority
decision. If there be no majority, the Award shall be made by the chairman of the Arbitral Tribunal alone.




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2
The Award shall state the reasons upon which it is based.
3
The Award shall be deemed to be made at the place of the arbitration and on the date stated therein.


Article 26
Award by Consent

If the parties reach a settlement after the file has been transmitted to the Arbitral Tribunal in accordance
with Article 13, the settlement shall be recorded in the form of an Award made by consent of the parties if
so requested by the parties and if the Arbitral Tribunal agrees to do so.


Article 27
Scrutiny of the Award by the Court

Before signing any Award, the Arbitral Tribunal shall submit it in draft form to the Court. The Court may lay
down modifications as to the form of the Award and, without affecting the Arbitral Tribunal’s liberty of
decision, may also draw its attention to points of substance. No Award shall be rendered by the Arbitral
Tribunal until it has been approved by the Court as to its form.


Article 28
Notification, Deposit and Enforceability of the Award

1
Once an Award has been made, the Secretariat shall notify to the parties the text signed by the Arbitral
Tribunal, provided always that the costs of the arbitration have been fully paid to the ICC by the parties or
by one of them.

2
Additional copies certified true by the Secretary General shall be made available on request and at any time
to the parties, but to no one else.
3
By virtue of the notification made in accordance with Paragraph 1 of this Article, the parties waive any
other form of notification or deposit on the part of the Arbitral Tribunal.
4
An original of each Award made in accordance with the present Rules shall be deposited with the
Secretariat.
5
The Arbitral Tribunal and the Secretariat shall assist the parties in complying with whatever further
formalities may be necessary.
6
Every Award shall be binding on the parties. By submitting the dispute to arbitration under these Rules, the
parties undertake to carry out any Award without delay and shall be deemed to have waived their right to
any form of recourse insofar as such waiver can validly be made.


Article 29
Correction and Interpretation of the Award

1
On its own initiative, the Arbitral Tribunal may correct a clerical, computational or typographical error, or
any errors of similar nature contained in an Award, provided such correction is submitted for approval to
the Court within 30 days of the date of such Award.



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2
Any application of a party for the correction of an error of the kind referred to in Article 29(1), or for the
interpretation of an Award, must be made to the Secretariat within 30 days of the receipt of the Award by
such party, in a number of copies as stated in Article 3(1). After transmittal of the application to the Arbitral
Tribunal, the latter shall grant the other party a short time limit, normally not exceeding 30 days, from the
receipt of the application by that party, to submit any comments thereon. If the Arbitral Tribunal decides to
correct or interpret the Award, it shall submit its decision in draft form to the Court not later than 30 days
following the expiration of the time limit for the receipt of any comments from the other party or within
such other period as the Court may decide.
3
The decision to correct or to interpret the Award shall take the form of an addendum and shall constitute
part of the Award. The provisions of Articles 25, 27 and 28 shall apply mutatis mutandis.




                                                    COSTS

Article 30
Advance to Cover the Costs of the Arbitration
1
After receipt of the Request, the Secretary General may request the Claimant to pay a provisional advance
in an amount intended to cover the costs of arbitration until the Terms of Reference have been drawn up.
2
As soon as practicable, the Court shall fix the advance on costs in an amount likely to cover the fees and
expenses of the arbitrators and the ICC administrative costs for the claims and counterclaims which have
been referred to it by the parties. This amount may be subject to readjustment at any time during the
arbitration. Where, apart from the claims, counterclaims are submitted, the Court may fix separate
advances on costs for the claims and the counterclaims.
3
The advance on costs fixed by the Court shall be payable in equal shares by the Claimant and the
Respondent. Any provisional advance paid on the basis of Article 30(1) will be considered as a partial
payment thereof. However, any party shall be free to pay the whole of the advance on costs in respect of
the principal claim or the counterclaim should the other party fail to pay its share. When the Court has set
separate advances on costs in accordance with Article 30(2), each of the parties shall pay the advance on
costs corresponding to its claims.
4
When a request for an advance on costs has not been complied with, and after consultation with the
Arbitral Tribunal, the Secretary General may direct the Arbitral Tribunal to suspend its work and set a time
limit, which must be not less than 15 days, on the expiry of which the relevant claims, or counterclaims,
shall be considered as withdrawn. Should the party in question wish to object to this measure, it must
make a request within the aforementioned period for the matter to be decided by the Court. Such party
shall not be prevented, on the ground of such withdrawal, from reintroducing the same claims or
counterclaims at a later date in another proceeding.
5
If one of the parties claims a right to a set-off with regard to either claims or counterclaims, such set-off
shall be taken into account in determining the advance to cover the costs of arbitration in the same way as
a separate claim insofar as it may require the Arbitral Tribunal to consider additional matters.




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Article 31
Decision as to the Costs of the Arbitration

1
The costs of the arbitration shall include the fees and expenses of the arbitrators and the ICC
administrative expenses fixed by the Court, in accordance with the scale in force at the time of the
commencement of the arbitral proceedings, as well as the fees and expenses of any experts appointed by
the Arbitral Tribunal and the reasonable legal and other costs incurred by the parties for the arbitration.
2
The Court may fix the fees of the arbitrators at a figure higher or lower than that which would result from
the application of the relevant scale should this be deemed necessary due to the exceptional circumstances
of the case. Decisions on costs other than those fixed by the Court may be taken by the Arbitral Tribunal at
any time during the proceedings.
3
The final Award shall fix the costs of the arbitration and decide which of the parties shall bear them or in
what proportion they shall be borne by the parties.




                                              MISCELLANEOUS

Article 32
Modified Time Limits
1
The parties may agree to shorten the various time limits set out in these Rules. Any such agreement
entered into subsequent to the constitution of an Arbitral Tribunal shall become effective only upon the
approval of the Arbitral Tribunal.
2
The Court, on its own initiative, may extend any time limit which has been modified pursuant to Article
32(1) if it decides that it is necessary to do so in order that the Arbitral Tribunal or the Court may fulfil their
responsibilities in accordance with these Rules.

Article 33
Waiver

A party which proceeds with the arbitration without raising its objection to a failure to comply with any
provision of these Rules, or of any other rules applicable to the proceedings, any direction given by the
Arbitral Tribunal, or any requirement under the arbitration agreement relating to the constitution of the
Arbitral Tribunal, or to the conduct of the proceedings, shall be deemed to have waived its right to object.

Article 34
Exclusion of Liability

Neither the arbitrators, nor the Court and its members, nor the ICC and its employees, nor the ICC
National Committees shall be liable to any person for any act or omission in connection with the
arbitration.


Article 35
General Rule

In all matters not expressly provided for in these Rules, the Court and the Arbitral Tribunal shall act in the
spirit of these Rules and shall make every effort to make sure that the Award is enforceable at law.




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                                          APPENDIX I
                                STATUTES OF THE INTERNATIONAL
                                    COURT OF ARBITRATION


Article 1
Function

1
The function of the International Court of Arbitration of the International Chamber of Commerce (the
“Court”) is to ensure the application of the Rules of Arbitration of the International Chamber of
Commerce, and it has all the necessary powers for that purpose.
2
As an autonomous body, it carries out these functions in complete independence from the ICC and its
organs.
3
Its members are independent from the ICC National Committees.


Article 2
Composition of the Court

The Court shall consist of a Chairman, Vice-Chairmen, and members and alternate members (collectively
designated as members). In its work it is assisted by its Secretariat (Secretariat of the Court).


Article 3
Appointment
1
The Chairman is elected by the ICC World Council upon the recommendation of the Executive Board of
the ICC.
2
The ICC World Council appoints the Vice-Chairmen of the Court from among the members of the Court or
otherwise.
3
Its members are appointed by the ICC World Council on the proposal of National Committees, one
member for each Committee.
4
On the proposal of the Chairman of the Court, the World Council may appoint alternate members.
5
The term of office of all members, including, for the purposes of this paragraph, the Chairman, Vice-
Chairmen and alternate members, is three years. If a member is no longer in a position to exercise his
functions, his successor is appointed by the World Council for the remainder of the term. Upon the
recommendation of the Executive Board, the duration of the term of office of any member may be
extended beyond three years if the World Council so decides.

Article 4
Plenary Session of the Court
The Plenary Sessions of the Court are presided over by the Chairman or, in his absence, by one of the Vice-
Chairmen designated by him. The deliberations shall be valid when at least six members are present.
Decisions are taken by a majority vote, the Chairman having a casting vote in the event of a tie.




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Article 5
Committees

The Court may set up one or more Committees and establish the functions and organization of such
Committees.

Article 6
Confidentiality

The work of the Court is of a confidential nature which must be respected by everyone who participates in
that work in whatever capacity. The Court lays down the rules regarding the persons who can attend the
meetings of the Court and its Committees and who are entitled to have access to the materials submitted
to the Court and its Secretariat.


Article 7
Modification of the Rules of Arbitration

Any proposal of the Court for a modification of the Rules is laid before the Commission on Arbitration
before submission to the Executive Board and the World Council of the ICC for approval.




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                                         APPENDIX II
                             INTERNAL RULES OF THE INTERNATIONAL
                                    COURT OF ARBITRATION


Article 1
Confidential Character of the Work of the International Court of Arbitration
1
The sessions of the Court, whether plenary or those of a Committee of the Court, are open only to its
members and to the Secretariat.
2
However, in exceptional circumstances, the Chairman of the Court may invite other persons to attend.
Such persons must respect the confidential nature of the work of the Court.
3
The documents submitted to the Court, or drawn up by it in the course of its proceedings, are
communicated only to the members of the Court and to the Secretariat and to persons authorized by the
Chairman to attend Court sessions.
4
The Chairman or the Secretary General of the Court may authorize researchers undertaking work of a
scientific nature on international trade law to acquaint themselves with Awards and other documents of
general interest, with the exception of memoranda, notes, statements and documents remitted by the
parties within the framework of arbitration proceedings.
5
Such authorization shall not be given unless the beneficiary has undertaken to respect the confidential
character of the documents made available and to refrain from any publication in their respect without
having previously submitted the text for approval to the Secretary General of the Court.
6
The Secretariat will in each case submitted to arbitration under the Rules retain in the archives of the Court
all Awards, Terms of Reference and decisions of the Court, as well as copies of the pertinent
correspondence of the Secretariat.
7
Any documents, communications or correspondence submitted by the parties or the arbitrators may be
destroyed unless a party or an arbitrator requests in writing within a period fixed by the Secretariat the
return of such documents. All related costs and expenses for the return of those documents shall be paid
by such party or arbitrator.


Article 2
Participation of Members of the International Court of Arbitration in ICC Arbitration

1
The Chairman and the members of the Secretariat of the Court may not act as arbitrators or as counsel in
cases submitted to ICC arbitration.
2
The Court shall not appoint Vice-Chairmen or members of the Court as arbitrators. They may, however, be
proposed for such duties by one or more of the parties, or pursuant to any other procedure agreed upon
by the parties, subject to confirmation.
3
When the Chairman, a Vice-Chairman or a member of the Court or of the Secretariat is involved in any
capacity whatsoever in proceedings pending before the Court, such person must inform the Secretary
General of the Court upon becoming aware of such involvement.


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4
Such person must refrain from participating in the discussions or in the decisions of the Court concerning
the proceedings and must be absent from the courtroom whenever the matter is considered.
5
Such person will not receive any material documentation or information pertaining to such proceedings.

Article 3
Relations between the Members of the Court and the ICC National Committees

1
By virtue of their capacity, the members of the Court are independent of the ICC National Committees
which proposed them for appointment by the ICC World Council.
2
Furthermore, they must regard as confidential, vis-à-vis the said National Committees, any information
concerning individual cases with which they have become acquainted in their capacity as members of the
Court, except when they have been requested by the Chairman of the Court or by its Secretary General to
communicate specific information to their respective National Committees.

Article 4
Committee of the Court

1
In accordance with the provisions of Article 1(4) of the Rules and Article 5 of its Statutes (Appendix I), the
Court hereby establishes a Committee of the Court.

2
The members of the Committee consist of a Chairman and at least two other members. The Chairman of
the Court acts as the Chairman of the Committee. If absent, the Chairman may designate a Vice-Chairman
of the Court or, in exceptional circumstances, another member of the Court as Chairman of the
Committee.

3
The other two members of the Committee are appointed by the Court from among the Vice-Chairmen or
the other members of the Court. At each Plenary Session the Court appoints the members who are to
attend the meetings of the Committee to be held before the next Plenary Session.

4
The Committee meets when convened by its Chairman. Two members constitute a quorum.

5
(a)     The Court shall determine the decisions that may be taken by the Committee.
(b)     The decisions of the Committee are taken unanimously.
(c)     When the Committee cannot reach a decision or deems it preferable to abstain, it transfers the
        case to the next Plenary Session, making any suggestions it deems appropriate.
(d)     The Committee’s decisions are brought to the notice of the Court at its next Plenary Session.


Article 5
Court Secretariat

1
In case of absence, the Secretary General may delegate to the Deputy Secretary General and/or the
General Counsel the authority to confirm arbitrators, to certify true copies of Awards and to request the
payment of a provisional advance, respectively provided for in Articles 9(2), 28(2) and 30(1) of the Rules.




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2
The Secretariat may, with the approval of the Court, issue notes and other documents for the information
of the parties and the arbitrators, or as necessary for the proper conduct of the arbitral proceedings.

3
Branches of the Secretariat may be established outside the headquarters of the ICC. The Secretariat shall
keep a list of offices designated as branches by the Secretary General. Requests for Arbitration may be
submitted to the Secretariat at its seat or at any of its branches, and the Secretariat's functions under the
Rules may be carried out from its seat or any of its branches, as instructed by the Secretary General,
Deputy Secretary General or General Counsel.

Article 6
Scrutiny of Arbitral Awards

When the Court scrutinizes draft Awards in accordance with Article 27 of the Rules, it considers, to the
extent practicable, the requirements of mandatory law at the place of arbitration.




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                                           APPENDIX III
                                   ARBITRATION COSTS AND FEES

Article 1
Advance on Costs

1
Each request to commence an arbitration pursuant to the Rules must be accompanied by an advance
payment of US$ 3,000 on the administrative expenses. Such payment is non-refundable, and shall be
credited to the Claimant’s portion of the advance on costs.

2
The provisional advance fixed by the Secretary General according to Article 30(1) of the Rules shall
normally not exceed the amount obtained by adding together the administrative expenses, the minimum
of the fees (as set out in the scale hereinafter) based upon the amount of the claim and the expected
reimbursable expenses of the Arbitral Tribunal incurred with respect to the drafting of the Terms of
Reference. If such amount is not quantified, the provisional advance shall be fixed at the discretion of the
Secretary General. Payment by the Claimant shall be credited to its share of the advance on costs fixed by
the Court.

3
In general, after the Terms of Reference have been signed or approved by the Court and the provisional
timetable has been established, the Arbitral Tribunal shall, in accordance with Article 30(4) of the Rules,
proceed only with respect to those claims or counterclaims in regard to which the whole of the advance on
costs has been paid.

4
The advance on costs fixed by the Court according to Article 30(2) of the Rules comprises the fees of the
arbitrator or arbitrators (hereinafter referred to as “arbitrator”), any arbitration-related expenses of the
arbitrator and the administrative expenses.
5
Each party shall pay in cash its share of the total advance on costs. However, if its share exceeds an amount
fixed from time to time by the Court, a party may post a bank guarantee for this additional amount.
6
A party that has already paid in full its share of the advance on costs fixed by the Court may, in accordance
with Article 30(3) of the Rules, pay the unpaid portion of the advance owed by the defaulting party by
posting a bank guarantee.
7
When the Court has fixed separate advances on costs pursuant to Article 30(2) of the Rules, the Secretariat
shall invite each party to pay the amount of the advance corresponding to its respective claim(s).
8
When, as a result of the fixing of separate advances on costs, the separate advance fixed for the claim of
either party exceeds one half of such global advance as was previously fixed (in respect of the same claims
and counterclaims that are the subject of separate advances), a bank guarantee may be posted to cover any
such excess amount. In the event that the amount of the separate advance is subsequently increased, at
least one half of the increase shall be paid in cash.
9
The Secretariat shall establish the terms governing all bank guarantees which the parties may post
pursuant to the above provisions.
10
As provided in Article 30(2) of the Rules, the advance on costs may be subject to readjustment at any time
during the arbitration, in particular to take into account fluctuations in the amount in dispute, changes in
the amount of the estimated expenses of the arbitrator, or the evolving difficulty or complexity of
arbitration proceedings.


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11
Before any expertise ordered by the Arbitral Tribunal can be commenced, the parties, or one of them, shall
pay an advance on costs fixed by the Arbitral Tribunal sufficient to cover the expected fees and expenses of
the expert as determined by the Arbitral Tribunal. The Arbitral Tribunal shall be responsible for ensuring
the payment by the parties of such fees and expenses.

Article 2
Costs and Fees

1
Subject to Article 31(2) of the Rules, the Court shall fix the fees of the arbitrator in accordance with the
scale hereinafter set out or, where the sum in dispute is not stated, at its discretion.
2
In setting the arbitrator’s fees, the Court shall take into consideration the diligence of the arbitrator, the
time spent, the rapidity of the proceedings, and the complexity of the dispute, so as to arrive at a figure
within the limits specified or, in exceptional circumstances (Article 31(2) of the Rules), at a figure higher or
lower than those limits.
3
When a case is submitted to more than one arbitrator, the Court, at its discretion, shall have the right to
increase the total fees up to a maximum which shall normally not exceed three times the fees of one
arbitrator.
4
The arbitrator’s fees and expenses shall be fixed exclusively by the Court as required by the Rules. Separate
fee arrangements between the parties and the arbitrator are contrary to the Rules.

5
The Court shall fix the administrative expenses of each arbitration in accordance with the scale hereinafter
set out or, where the sum in dispute is not stated, at its discretion. In exceptional circumstances, the Court
may fix the administrative expenses at a lower or higher figure than that which would result from the
application of such scale, provided that such expenses shall normally not exceed the maximum amount of
the scale. Further, the Court may require the payment of administrative expenses in addition to those
provided in the scale of administrative expenses as a condition to holding an arbitration in abeyance at the
request of the parties or of one of them with the acquiescence of the other.

6
If an arbitration terminates before the rendering of a final Award, the Court shall fix the costs of the
arbitration at its discretion, taking into account the stage attained by the arbitral proceedings and any other
relevant circumstances.

7
In the case of an application under Article 29(2) of the Rules, the Court may fix an advance to cover
additional fees and expenses of the Arbitral Tribunal and may make the transmission of such application to
the Arbitral Tribunal subject to the prior cash payment in full to the ICC of such advance. The Court shall
fix at its discretion any possible fees of the arbitrator when approving the decision of the Arbitral Tribunal.

8
When an arbitration is preceded by an attempt at amicable resolution pursuant to the ICC ADR Rules, one
half of the administrative expenses paid for such ADR proceedings shall be credited to the administrative
expenses of the arbitration.

9
Amounts paid to the arbitrator do not include any possible value added taxes (VAT) or other taxes or
charges and imposts applicable to the arbitrator’s fees. Parties have a duty to pay any such taxes or charges;
however, the recovery of any such charges or taxes is a matter solely between the arbitrator and the
parties.



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Article 3
ICC as Appointing Authority

Any request received for an authority of the ICC to act as appointing authority will be treated in accordance
with the Rules of ICC as Appointing Authority in UNCITRAL or Other Ad Hoc Arbitration Proceedings and
shall be accompanied by a non-refundable sum of US$ 2,500. No request shall be processed unless
accompanied by the said sum. For additional services, ICC may at its discretion fix administrative expenses,
which shall be commensurate with the services provided and shall not exceed the maximum sum of US$
10,000.

Article 4
Scales of Administrative Expenses and Arbitrator’s Fees

1
The Scales of Administrative Expenses and Arbitrator’s Fees set forth below shall be effective as of 1 May
2010 in respect of all arbitrations commenced on or after such date, irrespective of the version of the Rules
applying to such arbitrations.
2
To calculate the administrative expenses and the arbitrator’s fees, the amounts calculated for each
successive slice of the sum in dispute must be added together, except that where the sum in dispute is
over US$ 500 million, a flat amount of US$ 113,215 shall constitute the entirety of the administrative
expenses.




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                                             A. ADMINISTRATIVE EXPENSES
 Sum in dispute (in US Dollars)                                                           Administrative expenses(*)
 up to                                                           50,000                            $3,000
 from                     50,001        to                      100,000                            4.73%
 from                    100,001        to                      200,000                            2.53%
 from                    200,001        to                      500,000                            2.09%
 from                    500,001        to                    1,000,000                            1.51%
 from                  1,000,001        to                    2,000,000                            0.95%
 from                  2,000,001        to                    5,000,000                            0.46%
 from                  5,000,001        to                   10,000,000                            0.25%
 from                 10,000,001        to                   30,000,000                            0.10%
 from                 30,000,001        to                   50,000,000                            0.09%
 from                 50,000,001        to                   80,000,000                            0.01%
 from                 80,000,001        to                  500,000,000                          0.0035%
 over                500,000,000                                                                 $113,215
 (*) For illustrative purposes only, the table on the following page indicates the resulting
 administrative expenses in US$ when the proper calculations have been made.




                                                B. ARBITRATOR’S FEES
 Sum in dispute (in US Dollars)                                                                  Fees (**)
                                                                                          minimum            maximum
 up to                                                           50,000                      $3,000          18.0200%
 from                       50,001      to                      100,000                    2.6500%           13.5680%
 from                      100,001      to                      200,000                    1.4310%            7.6850%
 from                      200,001      to                      500,000                    1.3670%            6.8370%
 from                      500,001      to                    1,000,000                    0.9540%            4.0280%
 from                    1,000,001      to                    2,000,000                    0.6890%            3.6040%
 from                    2,000,001      to                    5,000,000                    0.3750%            1.3910%
 from                    5,000,001      to                   10,000,000                    0.1280%            0.9100%
 from                   10,000,001      to                   30,000,000                    0.0640%            0.2410%
 from                   30,000,001      to                   50,000,000                    0.0590%            0.2280%
 from                   50,000,001      to                   80,000,000                    0.0330%            0.1570%
 from                   80,000,001      to                  100,000,000                    0.0210%            0.1150%
 from                  100,000,001      to                  500,000,000                    0.0110%            0.0580%
 over                  500,000,000                                                         0.0100%            0.0400%
 (**) For illustrative purposes only, the table on the following page indicates the resulting
 range of fees in US$ when the proper calculations have been made.




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SUM IN DISPUTE                         A. ADMINISTRATIVE EXPENSES (*)                       B. ARBITRATOR’S FEES (*)
(in US Dollars)                        (in US Dollars)                                      (in US Dollars)
                                                                                            Minimum                                        Maximum

up to                         50,000      3,000                                               3,000                                        18.0200%   of amount in dispute
from       50,001 to         100,000      3,000 +        4.73% of amt. over       50,000      3,000 + 2.6500% of amt. over        50,000      9,010 + 13.5680% of amt. over     50,000
from      100,001 to         200,000      5,365 +        2.53% of amt. over      100,000      4,325 + 1.4310% of amt. over       100,000     15,794 + 7.6850% of amt. over     100,000
from      200,001 to         500,000      7,895 +        2.09% of amt. over      200,000      5,756 + 1.3670% of amt. over       200,000     23,479 + 6.8370% of amt. over     200,000
from      500,001 to    1,000,000        14,165 +        1.51% of amt. over      500,000      9,857 + 0.9540% of amt. over       500,000     43,990 + 4.0280% of amt. over     500,000
from    1,000,001 to    2,000,000        21,715 +        0.95% of amt. over     1,000,000    14,627 + 0.6890% of amt. over     1,000,000     64,130 + 3.6040% of amt. over    1,000,000
from    2,000,001 to    5,000,000        31,215 +        0.46% of amt. over     2,000,000    21,517 + 0.3750% of amt. over     2,000,000    100,170 + 1.3910% of amt. over    2,000,000
from    5,000,001 to 10,000,000          45,015 +        0.25% of amt. over     5,000,000    32,767 + 0.1280% of amt. over     5,000,000    141,900 + 0.9100% of amt. over    5,000,000
from 10,000,001 to 30,000,000            57,515 +        0.10% of amt. over    10,000,000    39,167 + 0.0640% of amt. over 10,000,000       187,400 + 0.2410% of amt. over 10,000,000
from 30,000,001 to 50,000,000            77,515 +        0.09% of amt. over    30,000,000    51,967 + 0.0590% of amt. over 30,000,000       235,600 + 0.2280% of amt. over 30,000,000
from 50,000,001 to 80,000,000            95,515 +        0.01% of amt. over    50,000,000    63,767 + 0.0330% of amt. over 50,000,000       281,200 + 0.1570% of amt. over 50,000,000
from 80,000,001 to 100,000,000           98,515 + 0.0035% of amt. over         80,000,000    73,667 + 0.0210% of amt. over 80,000,000       328,300 + 0.1150% of amt. over 80,000,000
from 100,000,001 to 500,000,000          99,215 + 0.0035% of amt. over        100,000,000    77,867 + 0.0110% of amt. over 100,000,000      351,300 + 0.0580% of amt. over 100,000,000
over 500,000,000                        113,215                                             121,867 + 0.0100% of amt. over 500,000,000      583,300 + 0.0400% of amt. over 500,000,000


(*)(**) See preceding page




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